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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

SERGIO VALDIVIESO,                     §
    Plaintiff,                         §
                                       §
v.                                     §
                                       §     C.A. No. 4:21-cv-02214
SOUTHERN CAT, INC., et al.,            §
    Defendants.                        §

          ORDER GRANTING DEFENDANT EMERGENCY
         RESPONSE GROUP, LLC’S EMERGENCY MOTION
             TO COMPEL PRODUCTION FROM SWS,
                 AND MOTION FOR SANCTIONS

       BE IT REMEMBERED that on this date came on to be considered

Defendant Emergency Response Group, LLC’s Emergency Motion to Compel

and Motion for Sanctions. After reviewing the Motions, the pleadings, and

the documents on file, the Court finds that the Motions should be granted. It

is hereby

       ORDERED, ADJUDGED and DECREED that Defendant Emergency

Response Group, LLC’s Emergency Motion to Compel Production from SWS

and Motion for Sanctions is GRANTED.

       SWS Environmental Services is ORDERED to fully respond to

Emergency Response Group, LLC’s First Requests for Production and

Second Requests for Production, in accordance with Rule 34, and without

objections, by ____________.
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     It is further ORDERED that SWS Environmental Services shall pay to

Brown Sims, attorneys for Emergency Response Group, LLC, within 14 days

of this Order, the sum of $3,415 as costs associated with this Emergency

Motion to Compel.


     ORDERED this _____ day of ______________________, 2021.




                                   ___________________________
                                   UNITED STATES DISTRICT JUDGE




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